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Attorneys for Plaintiff Personnel Plus Employment Agency, Inc.

                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA


 UNITED STATES, for the use and benefit
 of PERSONNEL PLUS EMPLOYMENT
 AGENCY, INC.,

           Plaintiff,

 vs.

 TRAVELERS CASUALTY AND
 SURETY COMPANY OF AMERICA
 PAYMENT BOND NO. 105385885,                    Case No. 3:12-cv-___________

           Defendant.

                                       COMPLAINT

              COMES NOW Use Plaintiff Personnel Plus Employment Agency, Inc.

(“Plaintiff”), by and through its counsel of record, the Law Offices of Royce & Brain, and for

its Complaint against Defendant, Travelers Casualty and Surety Company of America Payment

Bond No. 105385885 (“Defendant”), hereby states and alleges as follows:




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                                  JURISDICTION & VENUE

               1.     Plaintiff is, and at all relevant times was, a corporation organized and

existing under the laws of the State of Alaska.

               2.     Plaintiff operates as a licensed Alaska employment and personnel services

agency and is in all ways qualified to bring and maintain this action.

               3.     Based on information and belief, Defendant is a foreign corporation

organized and authorized to transact surety business in the State of Alaska.

               4.     Defendant issued Payment Bond No. 105385885 to Kiewit Building Group,

Inc. (“Kiewit”), in its capacity as general contractor on a federal construction project located at

Fort Wainwright, Alaska, known as FTW 347, Railhead Operation Facility (Phase 2), Project

No. W911KB-10-C-0015 (“Project”).

               5.     This action arises under and the Court has jurisdiction pursuant to 40

U.S.C. § 3131 et seq. (“Miller Act”).

                                              FACTS

               6.     Kiewit entered into a subcontract with ACD Rail Services Corp. (“ACD”)

to furnish certain labor, material, services and/or equipment to the Project.

               7.     ACD, in turn, entered into a service agreement with Plaintiff to furnish

certain labor and personnel services necessary to facilitate performance of ACD’s scope of work

under its subcontract with Kiewit.


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               8.     Plaintiff satisfied all of its obligations under its service agreement with

ACD and last furnished labor and personnel services to the Project on September 2, 2011, which

labor and personnel services were accepted by the Project owner and fully incorporated into the

Project.

               9.     Despite demand being made, ACD failed and/or refused to pay Plaintiff,

in full, for all labor and personnel services ACD received from Plaintiff on the Project.

               10.    As of November 23, 2011, ACD owed Plaintiff a balance of $65,936.88

for labor and personnel services Plaintiff furnished to the Project.

               11.    On November 23, 2011, Plaintiff provided Kiewit with written notice of

its claim on the Project arising out of ACD’s non-payment, in accordance with 40 U.S.C. §

3133(b)(2).

               12.    More than ninety (90) days but less than one (1) year has elapsed from the

last date on which Plaintiff furnished labor and personnel services to the Project.

               13.    The amount due to Plaintiff as a result of the labor and personnel services

it furnished to ACD on the Project has not been disputed by ACD.




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                         COUNT I – CLAIM ON PAYMENT BOND

               14.    Plaintiff re-alleges the paragraphs above, and further states and alleges as

follows:

               15.    Defendant issued Payment Bond No. 105385885 to Kiewit pursuant to the

Miller Act, for the benefit of all persons/entities supplying labor, material, services and/or

equipment to the Project.

               16.    Defendant is liable to Plaintiff for payment of all amounts owed on the

Project, which outstanding balance, as of November 23, 2011, totaled $65,936.88.

                              COUNT II – QUANTUM MERUIT

               17.    Plaintiff re-alleges the paragraphs above, and further states and alleges as

follows:

               18.    Plaintiff is entitled to receive the reasonable value of all labor and

personnel services it furnished to the Project.

               19.    The reasonable value of the labor and personnel services furnished by

Plaintiff to ACD for use on the Project that remains due and owing totaled $65,936.88 as of

November 23, 2011.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

               A.     For a final judgment against Defendant Payment Bond No.105385885, in

the principal amount of $65,936.88.

               B.     For an award of pre- and post-judgment interest at the highest rate allowed

by law.

               C.     For award of actual costs and attorney’s fees necessarily incurred by

Plaintiff in having to bring and maintain this action.

               D.     For such other and further relief as this Court deems just and equitable.

       DATED at Anchorage, Alaska, this 12 th day of January, 2012.

                                             LAW OFFICES OF ROYCE & BRAIN
                                             Counsel for Plaintiff Personnel Plus
                                             Employment Agency, Inc.


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